United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

Vv.

MATTHEW PANUWAT,

Defendant.

Case No. 21-cv-06322-WHO

VERDICT FORM

United States District Court
Northern District of California

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We, the jury in the above-titled action, find as follows:

Did the SEC establish by a preponderance of the evidence that Matthew Panuwat is liable

under the civil misappropriation theory of insider trading as explained in Instruction Nos. 16 — 21?

YES: "X NO:
The presiding juror must sign and date this verdict form and return it to the Court.

Signed: fre
f#

Dated: April 5 2024

